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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
F’REAL FOODS, LLC and
RICH PRODUCTS
CORPORATION,
Plaintiffs,
Vv. : Civil Action No. 16-41-CFC
HAMILTON BEACH :
BRANDS, INC. and HERSHEY :
CREAMERY COMPANY, :

Defendants.:

 

MEMORANDUM ORDER

1. In this patent case, Plaintiffs accuse Defendants of infringing multiple
patents. Defendants successfully petitioned the United States Patent Trial and
Appeal Board (PTAB) to institute an inter partes review (IPR) of one of these
patents, U.S. Patent No. 7,520,662 (the “#662 patent”). In the IPR, Defendants
argued that the #662 patent was invalid for obviousness based on disclosures in the
prior art. Defendants lost. Defendants then appealed this loss to the Federal
Circuit and lost again. See Hamilton Beach Brands, Inc. v. f real Foods, LLC, 908
F.3d 1328, 1342-43 (Fed. Cir. 2018).

2. Plaintiffs have now filed a motion in limine “to preclude Defendants from

asserting at trial that Claim 21 of [the #662 patent] is ‘invalid on any ground that
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the petitioner raised or reasonably could have raised’ during the [IPR] of that
patent [] under 35 U.S.C. § 315(e)(2).” D.I. 172. For the reasons that follow, I
will grant in part and deny in part Plaintiffs’ motion.

3. Plaintiffs argue that Defendants are estopped from basing an invalidity
argument on certain prior art combinations, because Defendants could have raised
the prior art combinations in the IPR proceedings instituted for the #662 patent.

4, The first prior art reference at issue is Japanese Utility Model
Application, JP H04-136787 U1 (the “Sato reference”). Plaintiffs argue that
Defendants are estopped from basing any invalidity argument on any prior art
combination involving the Sato reference. It is undisputed that Defendants did not
learn about the Sato reference until two months after the filing of the IPR for the
#662 patent. Therefore, the Court’s estoppel inquiry is limited to whether the Sato
reference could reasonably have been discovered by a “skilled searcher conducting
a diligent search.” Parallel Networks Licensing, LLC v. IBM Corp., 2017 WL
1045912, at *11 (D. Del. Feb. 22, 2017) (internal quotation marks and citation
omitted).

5. It is undisputed that Plaintiffs bear the burden of establishing estoppel.
The only “evidence” offered by Plaintiffs in support of their motion is the fact that

Defendants uncovered Sato two months after filing the IPR for the #662 patent.
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6. By contrast, Defendants submitted sworn declarations of two highly
skilled patent searchers who performed diligent searches for prior art for the #662
patent in 2014 and 2015 and were unable to locate the Sato reference. See
generally D.I. 194-2; D.I. 194-3. In one of the declarations, Lone Hartung Nielsen,
Managing Director of the Nordic Patent Institute (NPI), affirmed that the NPI
conducted a prior art search for the #662 patent in August 2015 across various
national and international patent databases including databases specifically geared
toward the “scientific and technological aspects of the processing and
manufacturing of food products” yet failed to uncover the Sato reference. See
generally D.I. 194-2.

7. The declaration of Dominic M. DeMarco, Managing Director of
DeMarco Intellectual Property, LLC (DeMarco IP), similarly documents DeMarco
IP’s failure to uncover the Sato reference in a prior art search conducted in
December 2014. See generally D.I. 194-3. DeMarco explained that because “Sato
is a Japanese Utility Model . . . that did not include any translation of the abstract,
specification, or claims, . . . it is not reasonable to expect a skilled searcher to find
[it] even through the most diligent search because commonly used prior art search
tools will not be able to correlate the search terms with Sato in global patent

databases.” Jd. at 4-5, J 15. DeMarco also added that “[e]ven having the exact
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reference number for Sato, it cannot be found in any PTO internal prior art
database.” Id. at 5, J 16.

8. The Nielson and DeMarco declarations rebut any suggestion that the Sato
reference could reasonably have been discovered by a “skilled searcher conducting
a diligent search.” Therefore, Defendants are not estopped from raising Sato as a
prior art reference.

9. I find, however, that Defendants are estopped from raising the
combination of Admitted Prior Art (APA), Kelly, and Miller. The PTAB instituted
the IPR based upon the combination of Nielson, Kelly, and Miller but did not
institute on the combination of APA, Kelly, and Miller, because it found that latter
combination redundant. Hamilton Beach never challenged this non-institution
decision at the PTAB; nor did Hamilton Beach request a remand at the Federal
Circuit to have the PTAB reinstitute the IPR with the APA, Kelly, and Miller
combination in light of the Supreme Court’s holding in SAS Institute Inc. v. lancu,
138 S. Ct. 1348 (2018) that the PTAB must institute an IPR on all petitioned
grounds. SAS Institute was issued during the pendency of Hamilton Beach’s
appeal before the Federal Circuit, and therefore, Hamilton Beach could have
sought aremand. See, e.g., BioDelivery Sci. Int’l, Inc. v. Aquestive Therap., Inc.,
898 F.3d 1205 (Fed. Cir. 2018); Palo Alto Networks, Inc. v. Finjan, Inc., 2018 WL

6040843, at *3 (Fed. Cir. Nov. 19, 2018). Hamilton Beach’s failure to request
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such relief precludes it from asserting the APA, Kelly, and Miller combination at
trial, because it could have raised this combination in a post-remand IPR if it had
sought aremand. See SiOnyx, LLC v. Hamamatsu Phototonics K.K., 330 F. Supp.

3d 574, 601 (D. Mass. 2018).

WHEREFORE, on this Tenth day of April in 2019, IT IS HEREBY
ORDERED that “Plaintiffs’ Motion in Limine to Preclude Prior Art Under 35
USS.C. § 315(e)” (DL. 172) is GRANTED IN PART AND DENIED IN PART:

1. Plaintiffs’ motion is DENIED with respect to the Sato reference.

2. Plaintiffs’ motion is GRANTED with respect to the combination of
APA, Kelly, and Miller. Defendants are precluded from raising the combination of
APA, Kelly, and Miller to argue that the #662 patent is invalid.

IT IS SO ORDERED.

CL ACA.

CONNOLLY, UNITED‘STATES DISTRICT JUDGE
